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                 IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )              MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


             This matter is before the Court on a motion by the

defendant, Christopher Allen Scott (“Scott” or “defendant”) to

reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) (Filing

No. 1302).    This is another attempt by Scott to reduce his

sentence pursuant to certain amendments made to the United States

Sentencing Guidelines (the “Guidelines”).              See e.g., Filing No.

1078 and Filing No. 1191.

             As previously determined by this Court, “[t]he

defendant was not sentenced pursuant to the . . . Guidelines but

pursuant to a specific statute which mandated a life sentence.”

(Filing No. 1192 at 1).      In 2011, the Court found that certain

Guideline modifications were not applicable to the defendant’s

sentence (Id.).     The Court once again reiterates that Scott was

not sentenced pursuant to the Guidelines and that the more recent

modifications to the Guidelines are likewise inapplicable.
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            Defendant was sentenced pursuant to 21 U.S.C. § 848.

Subsection (b) of 21 U.S.C. § 848 provides that:

                 [a]ny person who engages in a
                 continuing criminal enterprise
                 shall be imprisoned for life . . .
                 if -–

                 (1) such person is the principal
                 administrator, organizer, or leader
                 of the enterprise or is one of
                 several such principal
                 administrators, organizers, or
                 leaders; and

                 (2)(A) the violation referred to in
                 subsection (c)(1) of this section
                 involved at least 300 times the
                 quantity of a substance described
                 in subsection 841(b)(1)(B) of this
                 title, or

                 (B) the enterprise, or any other
                 enterprise in which the defendant
                 was the principal or one of several
                 principal administrators,
                 organizers, or leaders, received
                 $10 million dollars in gross
                 receipts during any twelve-month
                 period of its existence for the
                 manufacture, importation, or
                 distribution of a substance
                 described in section 841(b)(1)(B)
                 of this title.

21 U.S.C. § 848(b).

            At the time defendant was sentenced, the amount of

cocaine base under 21 U.S.C. § 841(b)(1)(B) was 5 grams or more.

21 U.S.C. § 841(b)(1)(B) (1993).         Today the amount of cocaine

base under Section 841(b)(1)(B) is 28 grams or more.               21 U.S.C.

                                     -2-
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§ 841(b)(1)(B) (2016).      Multiplying the amount of cocaine base

under the statute at the time Scott was sentenced (5 grams) by

300, as required by § 848(b)(2)(A), results in 1500 grams or 1.5

kilograms of cocaine base.       Alternatively, multiplying the amount

of cocaine base under the statute as written today (28 grams) by

300 as required by § 848(b)(2)(A) results in 8,400 grams or 8.4

kilograms of cocaine base.       However, the distinctions in the

quantity of cocaine base is of no consequence due to the actual

quantity at issue in this case and the quantity specifically

attributable to Scott.      See the Court’s July 23, 1993, Sentencing

Memorandum.

            Although the Court may be satisfied that the defendant

has received all the benefits incarceration might provide, and

believes that a sentence reduction might be appropriate in this

case, the law precludes the Court from reducing Scott’s mandatory

life sentence under 21 U.S.C. § 848(b).           A separate order will be

entered in accordance with this memorandum opinion.

            DATED this 12th day of January, 2017.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




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